                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO


CLEVELAND BROWNS FOOTBALL
COMPANY LLC,
76 Lou Groza Boulevard
Berea, Ohio 44017

CLEVELAND BROWNS STADIUM
COMPANY LLC,                                 Case No. 1:24-CV-01857-DAR
76 Lou Groza Boulevard
Berea, Ohio 44017                            Judge David A. Ruiz

HASLAM SPORTS GROUP, LLC,
76 Lou Groza Boulevard
Berea, Ohio 44017

JHAC, LLC,
76 Lou Groza Boulevard                       SECOND AMENDED COMPLAINT
Berea, Ohio 44017

                     Plaintiffs,
vs.

THE CITY OF CLEVELAND,
c/o Mark D. Griffin, Law Director
601 Lakeside Avenue, Room 227
Cleveland, Ohio 44114

MARK D. GRIFFIN, in his official capacity,
601 Lakeside Avenue, Room 227
Cleveland, Ohio 44114

                     Defendants.

Please also serve:

OHIO ATTORNEY GENERAL,
c/o Dave Yost
30 East Broad Street, 14th Floor
Columbus, Ohio 43215
                                        INTRODUCTION

       1.      The Cleveland Browns and their owner bring this action to secure a thriving future

for the team and its place in the City it calls home. In February 2029, less than four years from

now, the Browns’ thirty-year lease of Huntington Bank Field from the City will expire. The

Browns’ owner, the Haslam family, has been working for years to identify the best long-term

stadium for the team after their lease ends—one that will be worthy of the franchise and its fans

and also fiscally sensible for the City, the County, and the State.

       2.      At the request of the City and its then-Mayor Frank Jackson, the Browns spent four

years and several million dollars to produce a comprehensive economic development plan for the

City’s lakefront, long divided from the rest of downtown—one that would support the massive

renovation that Huntington Bank Field would need to serve as the Browns’ home after 2029. In

2021, the Browns unveiled that plan: a $450 million proposal to connect the lakefront to downtown

by land bridge over the Shoreway and create a new development of restaurants, shops, and offices

easily accessed by foot and car from Cleveland’s central business district. Again with the City and

Mayor’s encouragement, the Browns then spent years working with architects, engineers, and

public planners to create a detailed plan for a renovation of the stadium and related infrastructure

improvements to be completed by 2029.

       3.      But in the past four years, the City has made little effort to partner with the Browns

to realize these ambitious development plans. Despite years of discussions, the City still does not

have an actionable plan for connecting the lakefront to downtown on any timeline, let alone one

that can be executed by 2029. The City nevertheless clings to the idea of a lakefront stadium

renovation. The City thus proposes to pour its scarce dollars into refurbishing a stadium that is

already thirty years old, with no realistic prospect that the renovation will create either sustainable

economic development on the lakefront or a sustainable home for the Browns. This short-sighted


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proposal would cost its taxpayers hundreds of millions of dollars and leave them with nothing

more than they have now—a deteriorating open-air stadium that sits idle most of the year.

        4.        After years of study, the Haslam family has proposed a far superior solution: a

world-class domed stadium, the first in Ohio, anchoring an entertainment district at a site in Brook

Park less than a mile from the City line and next to Hopkins International Airport—all at zero cost

to the City. Because it will be covered, the Brook Park stadium could be used year-round, no

matter the weather, not just for Browns games, but also for other major sporting events, concerts,

and shows, attracting events and visitors that now bypass the City. And the City would be

unburdened of the expenses of the lakefront stadium—expenses it has struggled to fund and that

exceed the revenue generated by Browns’ home games there.

        5.        The Haslams’ proposal is a fiscally sound solution for the City that will keep the

Browns in the heart of the greater metropolitan area for at least another fifty years. Instead of

recognizing the benefits of the Haslams’ proposal, the City seeks to hold the Browns hostage to its

own failure of vision. Instead of a new domed facility that can drive significant economic activity

year-round, the City insists on sticking with an aging, uncovered stadium that is used only a dozen

or so times annually. Instead of a sustainable new home for the Browns, transformational for

Cleveland and Northeast Ohio, the City insists on a wasteful and expedient renovation at City

taxpayer expense. The City’s myopic approach harms not only the Browns, but also the County

and the City’s own residents. The City’s plan will cost Cleveland far more, and provide it far less.

Whatever interests the City is seeking to serve, they are not those of its taxpayers, its NFL club, or

its loyal fans.

        6.        To justify its ill-advised opposition to a stadium in Brook Park, the City invokes

the so-called “Modell Law”—named after Art Modell, the prior Browns owner who tried to take




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the team to Baltimore. But the Haslams are nothing like Art Modell, and the Modell Law has no

application here.    The Haslams—all three generations of them—are unwavering in their

commitment to Cleveland and the Browns. Faced with the City’s failure to make progress on a

plan to fund and execute the infrastructure improvements and other development initiatives

necessary to make the lakefront a plausible long-term home for the Browns, the Haslams have

identified a far better alternative—right here in Cuyahoga County, just over the City limit.

       7.      This is not a flight from Cleveland: it is a recommitment to Cleveland, promising

billions in regional private investment. The City’s invocation of the Modell Law must therefore

be rejected, as a matter of federal constitutional principles, statutory construction, and simple

common sense. The Cleveland Browns and their faithful fans are entitled to a world-class home

right here in the Cleveland area, without undue burden on the taxpayer, and in a forum that befits

the team and contributes to the community. Nothing in the Modell Law can or should operate to

defeat those salutary objectives.


                                           PARTIES

       8.      Cleveland Browns Football Company LLC owns and operates the Cleveland

Browns NFL franchise. It is a Delaware limited liability company with its principal place of

business at 76 Lou Groza Boulevard, Berea, Ohio 44017.

       9.      Cleveland Browns Stadium Company LLC is party to a lease of Huntington Bank

Field from the City of Cleveland. It is a Delaware limited liability company with its principal

place of business at 76 Lou Groza Boulevard, Berea, Ohio 44017.

       10.     JHAC, LLC, owned by the Haslam family, owns Cleveland Browns Football

Company LLC and Cleveland Browns Stadium Company LLC. It is a Delaware limited liability

company with its principal place of business at 76 Lou Groza Blvd, Berea, Ohio 44017.



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        11.      Haslam Sports Group, LLC is the managing member of JHAC, LLC. It is a

Delaware limited liability company with its principal place of business at 76 Lou Groza Blvd,

Berea, Ohio 44017.

        12.      Defendant City of Cleveland is a municipal corporation organized under the laws

of the State of Ohio.

        13.      Mark D. Griffin is the Law Director of the City of Cleveland and is named only in

his official capacity.


                                 JURISDICTION AND VENUE

        14.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and § 1367(a)

because this action presents federal questions arising under the U.S. Constitution and under 42

U.S.C. § 1983.

        15.      This Court has personal jurisdiction over the City because the City is an Ohio

municipal corporation. This Court has personal jurisdiction over Griffin because he is a resident

of Ohio and named in his official capacity as the Law Director of the City.

        16.      This Court has authority to order declaratory and injunctive relief under 28 U.S.C.

§ 2201 and § 2202, 42 U.S.C. § 1983, and Fed. R. Civ. P. 65.

        17.      Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because the City is located

in this District and Griffin is a resident of Ohio and because a substantial part of the events or

omissions giving rise to the claims occurred in this District.




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                                        BACKGROUND

        A.      Owner Art Modell tries to move the Browns to Baltimore—years before their
                stadium lease expires—and the City sues to enforce the full lease term

        18.     The Cleveland Browns have been a member of the National Football League since

1950. Each NFL team operates as a franchise, subject to the NFL’s rules and oversight. Because

member teams share certain revenues and jointly bear certain costs, their operations are financially

interdependent. NFL rules accordingly require the league’s approval of significant operational

changes by member teams, including a move or significant renovation of a team’s home stadium.

        19.     In 1973, an affiliate of the Cleveland Browns, then owned by Art Modell, entered

into a lease agreement with the City for Municipal Stadium. That lease, and the contemplated

sublease between the affiliate and the Browns, obligated the owners of the Browns to use the

stadium for the team’s regular season home games through the twenty-five-year term of the lease—

that is, until the end of 1998.

        20.     In 1995, however—three years before the lease expired—Modell announced that

he was moving the Browns to Baltimore. Modell (then represented by the same firm that

represents the City in this action) argued that a subsequent agreement between the affiliate and the

Browns relieved the team of its obligation to use the stadium during the lease term. And as Modell

saw it, even if the Browns were still subject to the lease, the City was entitled only to damages for

breach of the agreement.

        21.     The City sued to enforce the lease agreement. It sought not simply an award of

damages for breach of contract, but an order requiring Modell and the Browns to keep their

promise to play in Municipal Stadium for the full lease term. That specific promise, the City

argued, “is what the City bargained for in the Lease.” And “[t]o allow the Browns to repudiate the




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Lease agreement, three years before its expiration, would deny the City the essential benefit of its

bargain.”

       B.      The City, the NFL, and the Browns reach a new lease bargain on a new
               stadium

       22.     In February 1996, the City and the Browns reached a settlement that included the

NFL—a necessary party because its approval is required to move a franchise or create a new one.

       23.     Under the settlement, Modell was permitted to transfer the existing Browns

franchise to Baltimore, but was required to surrender the Browns’ name and records to a new

franchise, to be located in Cleveland. In exchange, the City was required to build, with funding

assistance from the NFL, a new stadium on the site of Municipal Stadium, to be leased to the new

Browns franchise for a thirty-year term.

       24.     That new bargain was memorialized in several interrelated agreements, including a

Stadium Financing Agreement, Lease by Way of Concession (attached as Ex. A), and Franchise

Commitment Agreement (attached as Ex. B).

       25.     The Lease by Way of Concession, dated April 26, 1996 (“Lease”), governed the

lease of the new stadium—today called Huntington Bank Field. The NFL executed the Lease “as

a nominee for the New Owner” of the Browns franchise and committed to assign the Lease to the

new owner, once identified. As a result of that assignment, the new owner would assume “all of

the terms of this Lease and all of the obligations and liabilities of Lessee.” See Ex. A, § 3.

       26.     The Lease provides that its term extends thirty years from “the February 1st prior

to the first season” in which the new Browns franchise participates in the NFL. See Lease, § 6(a),

(b). That season began in the fall of 1999. The Lease term thus ends on February 1, 2029.

       27.     Under the Lease, the City agreed to build a new stadium, subject to the NFL’s

financing commitments. See Ex. A, § 4.



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       28.     The City also agreed to pay for specified “Capital Repairs,” including emergency

capital repairs, during the Lease term. See Ex. A, § 14.

       29.     Under the Lease, the Browns’ owner agreed to pay $250,000 in annual rent and to

pay for routine stadium maintenance and for any stadium alterations or improvements. See Ex. A,

§§ 7, 11.

       30.     The Browns’ owner also agreed that the Browns would play “for not less than thirty

(30) years, all regular season home games” in the new stadium, as well as other games (such as

post-season games) that could be played in the new stadium. The Browns’ owner also agreed that

“during the Term of this Lease,” the Browns would play at least half of pre-season home games in

the new stadium. See Ex. A, § 9(a).

       31.     The Browns’ owner also agreed that, “throughout the Term of this Lease,” it shall

“maintain . . . its rights to play professional football in the City of Cleveland, Ohio,” and “be

obligated to play home games of the Franchise at the New Stadium in Cleveland, Ohio, as provided

in this Lease.” See Ex. A, § 9(b).

       32.     The Lease provisions obligating the Browns to play games in the new stadium

during the Lease term are expressly subject to “the City’s right to specific performance of [those]

obligations.” See Ex. A, § 22(e).

       33.     If the stadium is damaged, or the City fails to fulfill its repair obligations, such that

the Browns are prevented from playing at least half of their regular season home games there, the

Lease provides that the Browns’ owner has “the right to extend the Term of this Lease for one (1)

additional Lease Year.” See Ex. A, § 20(c).

       34.     With that single exception (which has not eventuated), neither party has the right

or obligation to extend or renew the Lease for any period beyond its term.




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       35.     The Lease provides that the Browns “shall, on the expiration of the term hereby

granted, or upon the earlier termination of the Lease, peaceably and quietly leave, surrender or

yield up unto the City the Leased Premises.” See Ex. A, § 28(a).

       C.      To deter a would-be Modell, Ohio passes the “Modell Law”

       36.     In June 1996—after the execution of the parties’ settlement, the Lease, and related

agreements—the Ohio General Assembly enacted R.C. 9.67. Born of outrage over Modell’s flight

to Baltimore—without warning and years before the Browns’ stadium lease with the City

expired—the law seeks to deter an owner tempted to try the same gambit. Known as the Modell

Law, it is a legislative response to the risk that another owner of a professional sports team might

seek to deprive the State or an Ohio city of the benefit of their bargains in supporting a team’s

home facility with taxpayer dollars.

       37.     In its entirety, the Modell Law provides:

       No owner of a professional sports team that uses a tax-supported facility for most
       of its home games and receives financial assistance from the state or a political
       subdivision thereof shall cease playing most of its home games at the facility and
       begin playing most of its home games elsewhere unless the owner either:

               (A) Enters into an agreement with the political subdivision permitting the
               team to play most of its home games elsewhere;

               (B) Gives the political subdivision in which the facility is located not less
               than six months’ advance notice of the owner’s intention to cease playing
               most of its home games at the facility and, during the six months after such
               notice, gives the political subdivision or any individual or group of
               individuals who reside in the area the opportunity to purchase the team.

       38.     The Modell Law—consistent with its nickname, text, and evident purpose—has

never been used to punish owners who act nothing like Modell. The Modell Law has never been

applied to an owner whose team has affirmed its intention to play games as required by its stadium

lease until the expiration of the lease. Nor has the Modell Law ever been applied to an owner who




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has publicly committed to keeping the team in the metropolitan area—and proposed investing well

over a billion dollars to build a new local stadium to uphold that promise.

       D.      The City builds the new stadium and the Browns’ new owner assumes the
               Lease

       39.     The City broke ground on the new stadium in 1997 and completed construction in

1999. Meanwhile, Al Lerner acquired the new Browns franchise in 1998. As required by the

Lease terms, the new Browns franchise assumed the Lease (through its affiliate, Cleveland Browns

Stadium Company LLC).

       E.      The Haslam family acquires the Browns and invests deeply in the team, in
               Cleveland, and in Ohio

       40.     The Haslam family acquired the Browns in 2012. Professional sports are not the

family’s first family business. Jim Haslam founded Pilot Corporation in 1958. His son, Jimmy

Haslam, started at the travel center company as a teenager, pumping gas, and eventually working

his way up to CEO and chairman. He built Pilot into the fifth-largest private company in the

country before selling it to Berkshire Hathaway in 2024. Jimmy and Dee Haslam’s daughter,

Whitney Haslam Johnson, worked at Pilot for twenty years before it was sold. Dee, meanwhile,

has built a successful career as an executive producer and founder of RIVR Media, a production

company that has produced over 3,000 television episodes for twenty-one different networks.

       41.     After buying the Browns, the Haslam family brought its business skills, financial

resources, and civic pride to Northeast Ohio. The Haslams currently own the Browns through the

Haslam Sports Group, headquartered just outside Cleveland, in Berea. Jimmy is the chairman and

Dee is the CEO, and both are managing partners. Whitney is also a managing partner, and her

husband, James Wood “JW” Johnson III, is executive vice president and a partner. The Johnsons

live with their three sons in Cuyahoga County.




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       42.     In his first press conference as a new owner of the Browns, Jimmy Haslam assured

the community that there was “zero chance” his family would “move the team out of Cleveland.”

Within a year of the purchase, the Haslams and the Browns announced a $120 million plan to

improve the stadium by reconfiguring seats to improve fan sightlines, modernizing the exterior,

adding escalators, and upgrading concession offerings. The Haslams agreed to fund upfront the

entirety of the expense—$120 million—to allow the upgrades to be made by 2015. The City

reimbursed just one-quarter of that cost, over fifteen years.

       43.     The Haslams have exhibited the same civic commitment in serving other great

Cleveland institutions. They have committed funding to install synthetic turf fields at sixteen

public schools in the metropolitan Cleveland area. They have been significant supporters of

Cleveland’s healthcare institutions—donating $20 million to University Hospitals to create the

Haslam Sports Innovation Center, and $30 million to the Cleveland Clinic in the last two years

alone. Led by Dee Haslam, the Cleveland Browns Foundation was a founding member of the Stay

in the Game! Attendance Network, a public/private partnership combatting chronic absenteeism

of schoolchildren throughout Ohio and now supporting nearly 380,000 students. Dee has also

been an enthusiastic supporter of the City and its most important business and cultural

organizations, serving as a director of the Greater Cleveland Partnership, the United Way of

Greater Cleveland (Executive Council), University Hospitals Systems, the Cleveland Orchestra,

and the Rock & Roll Hall of Fame. In all, the Haslams and the Browns have contributed more

than $150 million to worthy causes in Northeast Ohio since the family purchased the team.

       F.      The Haslam family expands its commitment to professional sports in Ohio

       44.     In 2017, the private operator of the Columbus Crew, a Major League Soccer team,

announced that it planned to move the team to Austin, Texas—even though the team had more

than five years left on its stadium lease with the State of Ohio. Faced with a professional sports


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team threatening to move to another state in the middle of its lease, the State of Ohio sued—

invoking the Modell Law to argue that the team was required to stay in Columbus or face a forced

sale process.

       45.      The Haslams stepped in, recognizing that the Crew “belong[ed] in Columbus.” In

December 2018, the Haslams reached an agreement to become co-investors in the team and keep

it in Columbus. And Haslam Sports Group promptly contributed more than $220 million toward

the construction of a new state-of-the-art stadium and training facility for the team. Lower.com

Field and the OhioHealth Performance Center opened in 2021.

       46.      Haslam Sports Group has not stopped at improving the facilities of the Crew. It

has committed $10 million to fund a public sports park in Northeast Columbus. And it has

supported Columbus City Schools and other neighboring school districts through soccer pitch

projects as well as its Stay in the Game! and Soccer in Schools programs. In 2024, the Haslams

continued their commitment to healthcare initiatives, donating $2 million to Pelotonia, a Columbus

organization devoted to raising funds for cancer research.

       G.       The City asks the Browns to develop a plan to create a vibrant lakefront
                economic development integrated with the downtown business district

       47.      Under its terms, the Browns’ Lease of their current stadium, Huntington Bank

Field, ends in February 2029. The stadium—hastily constructed in two years after Modell’s flight

to Baltimore—will by then be thirty years old. As both the Browns and the City have long

understood, that stadium will be incapable of serving as an adequate—let alone first-rate—home

for the Browns without an extensive and costly renovation and surrounding infrastructure

improvements.

       48.      As an open-air facility, the current stadium is used only for eight to ten Browns

games and a handful of non-Browns events per year. All in all, Huntington Bank Field is typically



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used for no more than a dozen events a year. The stadium, like the rest of the lakefront, is separated

from the downtown business district by the Shoreway—a 50 mile-per-hour highway—and rail

lines. Those site limitations have long made it impossible for the stadium or other lakefront

attractions to anchor a revitalized downtown, by blocking easy pedestrian and transit access that

could connect the central business district with the lakefront.

       49.     A comprehensive project to develop and integrate the lakefront with the downtown

business district has long been on the wish list of the City and its administrators. So in 2017,

knowing that the Browns would need to plan for a home that served their needs in 2029 and

beyond, Mayor Frank Jackson asked the Browns to present a vision to connect the lakefront to

downtown and transform it into an area of economic vitality.

       50.     Working with the City, Dee and Jimmy Haslam led that project. They spent years

generating a plan that would serve the public’s interest in economic renewal and create a lakefront

neighborhood that could support a home for the Browns in the decades following the Lease

expiration. The Browns commissioned and funded a planning study by Nelson Byrd Woltz, a

renowned landscape architecture firm known for ambitious public development projects across the

country.

       51.     The Browns unveiled the plan in May 2021. It contemplated transforming the

Shoreway into a wide, attractive boulevard and building a wide landscaped land bridge over the

boulevard as well as a new transit hub, which would link the downtown business district to a

lakefront revitalized by new mixed-use development.

       H.      Encouraged by the City, the Browns present a plan for a renovated stadium
               in a redeveloped lakefront newly connected to downtown

       52.     In November 2021, the Browns met with Mayor-elect Justin Bibb to discuss his

priorities and plans for the lakefront. Encouraged by his stated support for a redeveloped lakefront



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with new infrastructure links to downtown, the Browns began investigating a potential renovation

of the existing stadium for use after the Lease ended in 2029. The Browns assembled and funded

a team of experts—real estate developers, financial advisors, architects, designers, engineering

firms, construction companies, and consultants—to create detailed renovation plans and cost

estimates.

       53.     After more than a year of work, in early 2023, the Browns presented a renovation

plan to the City and County. The more modest version of that plan would adequately renovate the

aging stadium to extend its life by about twenty years.           But even that plan would cost

approximately $1 billion in upfront funding. That renovation plan depended on substantial

infrastructure improvements, such as the land bridge over the Shoreway and new transit hub, that

would not only link the renovated stadium and surrounding development to the central business

district, but also drive economic activity in the lakefront that would help fund the renovation costs,

either through taxes on increased revenues or private financing.               Those infrastructure

improvements would cost hundreds of millions of dollars—in addition to the $1 billion cost of

renovating the stadium.

       I.      After the City repeatedly fails to step up with a viable funding plan for a
               renovated stadium in a lakefront linked to downtown, the Browns begin
               exploring a new domed stadium alternative that can generate greater
               revenue

       54.     Serious engagement on the renovation plan thus required the City and the County

to present a clear path to obtaining the necessary public funding on the necessary timeline—that

is, in time to complete renovations by the 2029 NFL season. Although the Browns engaged in

months of back-and-forth with the City and the County, neither offered a viable proposal to provide

the public funding on which the renovation plan depends.




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       55.     If renovation of the lakefront stadium were indeed the priority the City claims it is,

the City would have responded to the funding challenge with creativity and urgency. But as

months passed, it became clear to the Browns that it was imperative to develop a plan for a new

home for the Browns that did not depend on significant public funding from the City—public

funding that the City appeared to have neither the will nor the ability to offer.

       56.     The Browns therefore took a hard look at other sites for a new stadium in Cleveland

and its immediate vicinity, ultimately focusing on the possibility of constructing a new domed

stadium. A dome is an economic game-changer for the increasingly forbidding math required to

justify the massive private and public investment of a major stadium renovation or construction—

especially for an NFL stadium, which hosts only eight to ten team home games a year. A dome

makes a stadium an all-weather, all-season facility—one that can be used year-round for dozens

of major events. The revenue generated by a regular schedule of events—summer and winter, rain

or shine—and the related boost to restaurants, shops, and hotels makes private financing cheaper

and easier to attract. And more important, because a dome multiplies by several times the

economic impact and tax revenues a stadium can generate, it significantly relieves the burden of

public funding that a new stadium or stadium renovation would otherwise impose on local

taxpayers. Among the multiple positive follow-on effects of this economic development: more

jobs for City and area residents.

       57.      None of this is possible at the lakefront, because putting a dome on Huntington

Bank Stadium is not feasible. Because the stadium sits close to Burke Lakefront Airport, building

height restrictions imposed by the Federal Aviation Authority foreclose a renovation that would

add a dome. There are no plans to close that airport. And even if it is possible to secure the

necessary regulatory and other approvals to shut it down (an open question), the timeline for doing




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so is highly speculative. What’s more, adding a dome to an existing facility is an expensive and

structurally complicated undertaking. It’s doubtful that the returns would justify the massive

investment when the facility is already thirty years old.

       58.     In October 2023, the Browns informed the City that they were considering other

sites—in or near Cleveland—that could support a domed stadium.

       J.      The Browns propose a new domed stadium a few miles southwest of
               Cleveland that will cost the City and its taxpayers nothing

       59.     A vacant site in Brook Park, a suburb bordering Cleveland to the southwest, looked

especially promising. The site lies less than a mile from the City limits, near Hopkins International

Airport, and close to the Browns’ training facility in Berea. And it has ample space for mixed-use

development that would benefit from a year-round calendar of events, as well as substantial room

for parking—a perennial challenge at the existing stadium site. And its proximity to two major

highways makes it easily accessible not only to fans throughout the Cleveland area, but also to

those in Central Ohio and the rest of the state. In March 2024, the Browns acquired an option to

purchase the Brook Park site to ensure its availability for future stadium development.

       60.     In April 2024, the Browns presented the County with a detailed proposal for a new

stadium on the Brook Park site—along with a plan for funding it. Construction of a new domed

stadium that will last at least fifty years with proper capital maintenance was projected to take

approximately three and a half years and cost $2.4 billion. In recent years, new NFL stadiums

have been financed with a majority of public investment. But the Haslams proposed that private

funding contribute at least half the construction cost—$1.2 billion, plus any cost overruns. As for

the other half to come from public funding, the Haslams proposed that it be divided among the

State, the County, and Brook Park—with the vast majority supported by incremental taxes and

fees on revenues generated by the new stadium development, and the remainder supported by



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modest new taxes that would be paid by visitors. That fiscally disciplined allocation is possible

only because of the dome and the adjacent mixed-use development it will anchor. The state and

local revenues from additional year-round use of the stadium beyond Browns games—projected

to be more than $6.3 billion over a thirty-year lease term—will enable construction of a world-

class sports and entertainment facility that in time will pay for itself.

        61.     A new stadium development in Brook Park would give the City and its residents

the benefits of one of the most ambitious and spectacular NFL stadium projects less than a mile

from City limits at zero cost to the City and its taxpayers. The Browns appreciate that even today,

the City is struggling to satisfy its obligations to fund capital repairs to the existing stadium, as

well as to the facilities of other professional sports teams in Northeast Ohio. The Brook Park

proposal frees the City and its taxpayers from any stadium funding obligations, as well as the

substantial expenses the City incurs as a result of operations on Browns game days. A new stadium

in Brook Park would also expand the City’s options for redeveloping the lakefront—by freeing up

prime lakefront real estate currently occupied by the stadium for other public and commercial uses.

        62.     Careful attention to Cleveland’s fiscal resources and how they can best be deployed

counsels in favor of City and County officials giving the Brook Park proposal fair consideration.

Certainly, the City’s taxpayers and residents deserve that.

        63.     Yet the City responded with knee-jerk hostility to the Brook Park plan—though it

still had not presented a viable funding plan of its own for a stadium renovation or new lakefront

development. On May 6, the City passed Emergency Ordinance 391-2024, “direct[ing]” its

lawyers to “fully enforce” the Modell Law “to keep the Cleveland Browns in the City of Cleveland

and to protect the interests of the taxpayers of the City with regard to their investment in the

lakefront stadium.”




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       64.     The City did not explain how the Browns could possibly violate the Modell Law

by looking for a new stadium home in the Cleveland area after their Lease of the current stadium

expires. Or how the City’s refusal to consider a plan to build a world-class stadium less than a

mile from City lines, at no expense to City taxpayers, could possibly be in taxpayers’ interests.

       K.      The City presents a proposal for funding a stadium renovation that would
               cost Cleveland taxpayers hundreds of millions of dollars and do nothing to
               make the stadium a magnet for economic development

       65.     In August 2024—more than a year after the Browns had presented a stadium

renovation plan and its costs to the City—the City publicly released its funding proposal. That

proposal confirmed what the Browns already suspected—that the City does not have a realistic or

fiscally sensible solution to the massive public and private investment required to fund a stadium

renovation.

       66.     The City’s funding proposal acknowledged that a stadium renovation would cost at

least approximately $1 billion. But the City proposed to contribute just $20 million—less than

2%—in upfront construction costs, then dribble out $347 million over the thirty-year term of a

new lease. And the City offered only the speculative hope, not a clear plan or commitment, that

the State and County would help shoulder the City’s public funding contribution. The City’s

proposal thus left to the Haslams and the Browns the responsibility of generating a plan to fund

virtually the entire upfront cost of renovating the City-owned stadium. None of the public-private

partnerships that have funded NFL stadium projects in recent history have forced the team to bear

such heavy costs at the outset of the project.

       67.     The City’s proposal also capped its responsibility to pay for capital repairs, at $94

million. But it has long been standard for NFL stadium leases to divide the burden of repair and

maintenance costs between team owners and the government lessors—with no cap. The existing




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Lease, for example, requires the Browns’ owner to pay for all routine maintenance and any

alterations or improvements, while the City is responsible for all capital repairs.

       68.      And the City’s proposal came with no plan for funding all of the hundreds of

millions of dollars in infrastructure improvements necessary to connect the lakefront and a

renovated stadium to downtown—or even a date for delivering that plan. An open-air stadium cut

off from downtown is what the City has now. And such a stadium cannot generate the revenue

needed to fund a massive private or public investment in a stadium renovation. The City’s proposal

is based on the unrealistic idea that the Browns will nonetheless pay the majority of the more than

$1 billion necessary to fund a renovation of a stadium in an isolated lakefront.

       69.      Recognizing that a domed stadium offers substantial economic benefits that an

open-air stadium never can, the City asked the Browns in September 2024 to evaluate the

feasibility of building a domed stadium adjacent to the current stadium, on the site of Burke

Lakefront Airport. But the City has no authority to shut down Burke Lakefront Airport to replace

it with a stadium. Nor does the City have any way to ensure that it will ever obtain the regulatory

approvals required to do so, let alone soon enough to make Burke Lakefront Airport an alternative

stadium site.

       70.      The Haslams and the Browns, however, remain committed to working with the City

and County to find the best new home for the Browns in the Cleveland area—not just the best

home for the team and their fans, but the most fiscally responsible solution for local residents and

taxpayers. So they spent hundreds of thousands of dollars working with engineering firms and

consultants to determine if a domed stadium at Burke Lakefront Airport is a realistic alternative to

one in Brook Park.




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       71.     It isn’t. Because of ground characterizations and other site disadvantages, building

a domed stadium at Burke Lakefront Airport would cost $3.3 billion—far more than the $2.4

billion cost of a domed stadium in Brook Park. And even that figure assumes construction begins

in 2026—unrealistic given the regulatory approvals necessary to shut down and potentially

relocate the airport—again, approvals that might never be obtained. With each year of delay, that

$3.3 billion estimate, already prohibitively high, rises substantially. And, like a renovation of the

current stadium, a new stadium at Burke Lakefront Airport would require hundreds of millions of

dollars in associated infrastructure investment—in highway connections, transit access, and

parking facilities. A stadium in Brook Park, situated just off the highway, would require less than

$100 million in infrastructure investment.

       72.     After the impracticality of replacing Burke Lakefront Airport with a new stadium

became clear, the Haslams issued a public statement explaining their decision to focus their

planning efforts on a new stadium in Brook Park. As they explained, they had worked since 2017

with the City and Mayor “to find the optimal long-term solution for our stadium.” And they had

“learned through our exhaustive work that renovating our current stadium will simply not solve

many operational issues and would be a short-term approach.”

       73.     “With more time to reflect,” they explained, “we have also realized that without a

dome, we will not attract the type of large-scale events and year-round activity to justify the

magnitude of this public-private partnership.”         Ultimately, the Haslams explained, “[t]he

transformational economic opportunities created by a dome far outweigh what a renovated stadium

could produce with around ten events per year.” And, the Haslams added, whether the Browns’

home is inside City lines or just beyond them, “Cleveland and Northeast Ohio are the fabric of the

Browns and that will always be the case.”




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       L.      The City tries to invoke the Modell Law—against owners nothing like Modell

       74.     Days after the Haslams’ statement, Cleveland Law Director Mark Griffin said the

City would “move forward” with enforcing the Modell Law against the Browns and the Haslams.

Again, the City did not explain how the Modell Law could possibly apply to them—a team and

owner who are facing a lease expiration on an aging stadium and doing nothing more than

prudently searching for the best long-term stadium home in the Cleveland area, well within the

team’s NFL-defined home territory.

       75.     Planning a new stadium in Brook Park, less than a mile from Cleveland’s

southwestern border, for use after the Browns’ current stadium lease expires, bears no resemblance

to Modell’s attempt to remove the Browns to another state, years before their stadium lease

expired. The City may seek to score cheap points by implausibly casting the Haslams as today’s

Modell, abandoning Cleveland. But the City should know better—especially since it is now

represented by the very same firm that represented Modell when the City sued to enforce the

Browns’ stadium lease in 1995. No one thinks an NFL team leaves its city by building a stadium

within a metropolitan area, rather than within city lines. The NFL’s rules, in place long before the

Browns signed their current stadium Lease, make this clear: they define a team’s home territory as

encompassing a 75-mile radius beyond the franchise city. Brook Park is less than a mile from

Cleveland. Plenty of NFL teams have their home stadium in suburbs of their home city. The

Dallas Cowboys play in Arlington. The San Francisco 49ers play in Santa Clara. The Los Angeles

Rams and Chargers play in Inglewood. The Buffalo Bills play in Orchard Park. The Washington

Commanders play in Summerfield, Maryland. And the New York Giants and Jets don’t even play

in New York State, but in Rutherford, New Jersey. But no one is confused about which city any

of these teams calls home.




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       76.     The City’s threats prompted the Brown to seek to protect their right to find the best

new home for their franchise after the expiration of the Lease, whether within Cleveland or in the

broader metropolitan area that has always claimed the City and the Browns as its own. They

therefore brought this suit in October, seeking to stop the enforcement of the Modell Law against

them as unconstitutional and plainly contrary to the Modell Law’s plain words and intended

application.

       77.     The Haslams and the Browns, however, have been and remain committed to

working together with the City and County “to find the optimal long-term solution for our

stadium.” Even as the City has threatened them with the Modell Law, they have continued to seek

a dialogue with the Mayor and County officials. They have not simply urged the City and County

to fairly consider the Brook Park proposal. They have for their part also continued to engage with

the City on its preferred proposal—a stadium renovation—by seeking answers from the City about

their concerns so they can be sure to accurately assess each proposal’s costs and benefits.

       78.     The Browns have also sought to collaborate with the City to objectively evaluate

both the renovation proposal and the Brook Park proposal, offering detailed answers—in writing—

to the City’s questions and urging continued engagement to find a solution satisfactory to all. The

City reciprocated with its own lawsuit. In mid-January, making good on its threat, the City sued

the Haslams and the Browns in state court, claiming that they violated the Modell Law.

       79.     Even now, the City has not explained how the Modell Law could apply to a team

that has complied and will comply with each of its contractual commitments to the City, that has

played and will play its home games in its stadium until the expiration of its lease, and whose

owners have committed to keeping the team in the Cleveland area long after the lease expires. The

City appears to believe that a law passed after the Browns signed a contract with the City can




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somehow render the contract’s terms meaningless, and require the Browns to play all their home

games, forever, in a stadium of the City’s choosing, without regard to fiscal responsibility, the

needs of the team and its fans, or the condition of the facility.

       80.      The City’s threatened application of the Modell Law is unreasonable on its face—

as well as unconstitutional. The City’s suit is a legally meritless and fiscally irresponsible attempt

to handcuff the Browns to an aging stadium long after their contractual obligations end. Its strategy

is apparently to run out the clock so the Browns are unable to bring the Brook Park stadium to

fruition by 2029, and so hold the team, its fans, and the community hostage to an inferior

alternative and the political whims of city managers. The City’s obstinance is hurting the very

people it is claiming to help—not just the Browns and their fans in the City, its suburbs, and

beyond—but also Cleveland residents and taxpayers.

       81.      The Browns thus require prompt relief from the City’s unlawful campaign to

enforce the Modell Law. Because the current stadium lease expires after the 2028 season, the new

stadium must be completed by mid-2029 for the Browns to be able to use it in time for the 2029

season. Because a new stadium in Brook Park is expected to take at least forty months to construct,

the Browns will need to break ground by early 2026 to meet that deadline. Absent prompt relief,

the uncertainty created by the City’s attempt to enforce the Modell Law against them will

unlawfully impair their ability to exercise their contractual and legal rights to call a new stadium

home in 2029.




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                                      CAUSES OF ACTION

                                       FIRST CLAIM
 Violation of Art. 1, § 8 and § 10, and the Fourteenth Amendment of the U.S. Constitution
                                (Against the City of Cleveland)

        82.     Plaintiffs re-allege each of the preceding paragraphs as if set forth again in full.

        83.     The Browns’ Lease of the stadium, now called Huntington Bank Field, from the

City became effective on April 26, 1996 and expires on February 1, 2029.

        84.     The Lease does not impose any obligation on the Browns to play games in, or

otherwise use, the stadium after its term ends.

        85.     The City has no right to unilaterally extend the Lease for any period, and the parties

have not agreed to any extension or renewal of the Lease.

        86.     On May 6, 2024, the City passed Emergency Ordinance 391-2024, through which

“the Director of Law,” Mark D. Griffin, was “authorized and directed to fully enforce the

provisions of” the Modell Law against Plaintiffs.

        87.     The City contends that the Modell Law may be enforced to either prevent the

Browns from exercising their rights to move to a new home stadium or to force their sale to a new

owner, in direct contravention of the terms of the Lease and related agreements, including among

others the Franchise Commitment Agreement.

        88.     The City’s attempt to enforce the Modell Law against Plaintiffs violates their

bargained-for rights under the Lease and related agreements, in violation of the Contracts Clause

of Article I, Section 10 of the U.S. Constitution, which states, in relevant part, “[n]o state shall . . .

pass any . . . Law impairing the Obligation of Contracts.”

        89.     The City contends that the Modell Law may be enforced to discriminate between

in-state and out-of-state economic interests by, among other things, giving Ohio political




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subdivisions and residents preferential treatment and special rights with respect to the purchase of

professional sports organizations.

       90.     The Modell Law also interferes with the financial relationships within the NFL,

including between and among NFL franchises and their owners.

       91.     The Modell Law places excessive burdens on interstate commerce without

advancing any legitimate local interest.

       92.     The Modell Law, and the City’s attempted enforcement thereof, violates both

facially and as applied to Plaintiffs here, the Commerce Clause of Article 1, Section 8 of the U.S.

Constitution, which grants Congress the power to “regulate Commerce . . . among the several

States.”

       93.     The Modell Law is so vague and indefinite that it fails to provide the Browns and

their owner fair notice whether their contemplated conduct is forbidden by the statute and thus

encourages arbitrary and erratic enforcement in violation of the Due Process Clause of the

Fourteenth Amendment of the U.S. Constitution.

       94.     The statute is impermissibly vague and indefinite because, among other things, it

fails to provide adequate notice as to whether its requirements are triggered when the Browns have

complied and will comply with all game usage obligations of the lease agreement for the facility

in which they are currently playing most of their home games; what agreements can satisfy its

requirement of “an agreement with the political subdivision permitting the team to play most of its

home games elsewhere”; the nature, including the timing, of any financial assistance the Browns

must receive for their owner to be presently subject to the Modell Law; any discernible or

consistent standard for determining the time of “the owner’s intention to cease playing most of its

home games at the facility”; the nature of the required “six months’ advance notice” and the




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manner in which it can be adequately provided; any definition of the “area” in which a “group of

individuals” must reside in order to be entitled to an “opportunity to purchase the team”; and the

nature of the “opportunity to purchase the team” that must be given by the owner, including any

actions the owners must affirmatively undertake, in order to satisfy the statute.

       95.     The City’s attempt to enforce the Modell Law against Plaintiffs violates the Due

Process Clause of the Fourteenth Amendment of the U.S. Constitution.

       96.     The City is also liable to Plaintiffs for redress under 42 U.S.C. § 1983 because the

City’s attempt to enforce the Modell Law deprives Plaintiffs of rights, privileges, or immunities

secured by the Constitution and laws of the United States.

       97.     The City’s attempt to enforce the Modell Law against Plaintiffs is causing and will

cause Plaintiffs to suffer damages, including costs incurred as a result of any delays in obtaining

approvals and financing for, or in commencing the construction of, a new stadium at Brook Park.

       98.     Plaintiffs seek a declaration that the City’s attempt to enforce the Modell Law

against them violates the U.S. Constitution.

       99.     Plaintiffs seek injunctive relief to enjoin the City from enforcing the Modell Law

against them, including by bringing or prosecuting suit, in violation of the U.S. Constitution.

       100.    Absent declaratory and injunctive relief, Plaintiffs will suffer irreparable harm.

                                      SECOND CLAIM
 Violation of Art. 1, § 8 and § 10, and the Fourteenth Amendment of the U.S. Constitution
(Against Mark D. Griffin, in his official capacity as Law Director of the City of Cleveland)

       101.    Plaintiffs re-allege each of the preceding paragraphs as if set forth again in full.

       102.    The Browns’ Lease of the stadium, now called Huntington Bank Field, from the

City became effective on April 26, 1996 and expires on February 1, 2029.




                                                -25-
       103.    The Lease does not impose any obligation on the Browns to play games in, or

otherwise use, the stadium after its term ends.

       104.    The City has no right to unilaterally extend the Lease for any period, and the parties

have not agreed to any extension or renewal of the Lease.

       105.    On May 6, 2024, the City passed Emergency Ordinance 391-2024, through which

“the Director of Law,” Mark D. Griffin, was “authorized and directed to fully enforce the

provisions of” the Modell Law against Plaintiffs.

       106.    The City, by and through its Director of Law, contends that the Modell Law may

be enforced to either prevent the Browns from exercising their rights to move to a new home

stadium or to force their sale to a new owner, in direct contravention of the terms of the Lease and

related agreements, including among others the Franchise Commitment Agreement.

       107.    The City’s attempt to enforce the Modell Law, by and through its Director of Law,

against Plaintiffs violates their bargained-for rights under the Lease and related agreements, in

violation of the Contracts Clause of Article I, Section 10 of the U.S. Constitution, which states, in

relevant part, “[n]o state shall . . . pass any . . . Law impairing the Obligation of Contracts.”

       108.    The City, by and through its Director of Law, contends that the Modell Law may

be enforced to discriminate between in-state and out-of-state economic interests by, among other

things, giving Ohio political subdivisions and residents preferential treatment and special rights

with respect to the purchase of professional sports organizations.

       109.    The Modell Law also interferes with the financial relationships within the NFL,

including between and among NFL franchises and their owners.

       110.    The Modell Law places excessive burdens on interstate commerce without

advancing any legitimate local interest.




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       111.    The Modell Law, and the City’s attempted enforcement thereof, by and through its

Director of Law, violates both facially and as applied to Plaintiffs here, the Commerce Clause of

Article 1, Section 8 of the U.S. Constitution, which grants Congress the power to “regulate

Commerce . . . among the several States.”

       112.    The Modell Law is so vague and indefinite that it fails to provide the Browns and

their owner fair notice whether their contemplated conduct is forbidden by the statute and thus

encourages arbitrary and erratic enforcement in violation of the Due Process Clause of the

Fourteenth Amendment of the U.S. Constitution.

       113.    The statute is impermissibly vague and indefinite because, among other things, it

fails to provide adequate notice as to whether its requirements are triggered when the Browns have

complied and will comply with all game usage obligations of the lease agreement for the facility

in which they are currently playing most of their home games; what agreements can satisfy its

requirement of “an agreement with the political subdivision permitting the team to play most of its

home games elsewhere”; the nature, including the timing, of any financial assistance the Browns

must receive for their owner to be presently subject to the Modell Law; any discernible or

consistent standard for determining the time of “the owner’s intention to cease playing most of its

home games at the facility”; the nature of the required “six months’ advance notice” and the

manner in which it can be adequately provided; any definition of the “area” in which a “group of

individuals” must reside in order to be entitled to an “opportunity to purchase the team”; and the

nature of the “opportunity to purchase the team” that must be given by the owner, including any

actions the owners must affirmatively undertake, in order to satisfy the statute.




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       114.     The City’s attempt to enforce the Modell Law, by and through its Director of Law,

against Plaintiffs violates the Due Process Clause of the Fourteenth Amendment of the U.S.

Constitution.

       115.     The City, by and through its Director of Law, is also liable to Plaintiffs for redress

under 42 U.S.C. § 1983 because the City’s enforcement of the Modell Law, by and through its

Director of Law, deprives Plaintiffs of rights, privileges, or immunities secured by the Constitution

and laws of the United States.

       116.     Plaintiffs seek a declaration that the City’s attempt to enforce the Modell Law, by

and through its Director of Law, against them violates the U.S. Constitution.

       117.     Plaintiffs seek injunctive relief to enjoin the City’s Director of Law from enforcing

the Modell Law against them, including by bringing or prosecuting suit, in violation of the U.S.

Constitution.

       118.     Absent declaratory and injunctive relief, Plaintiffs will suffer irreparable harm.

                                        THIRD CLAIM
                      In the alternative to the First and Second Claims
(Against the City of Cleveland and Mark D. Griffin, in his official capacity as Law Director
                                   of the City of Cleveland)

       119.     The Browns incorporate the allegations set forth in the preceding paragraphs of this

Complaint as if fully rewritten herein.

       120.     The requirements of the Modell Law have no application to any action the Browns

or their owner take to cease the playing of their home games at Huntington Bank Field after the

Browns’ lease of that facility from the City of Cleveland expires by its terms.

       121.     The Modell Law does not require a professional sports team or its owner to play

in a facility without a lease agreement or to enter into a new lease agreement for a facility. As

confirmed by the circumstances of its enactment, the Modell Law is plainly intended to prevent


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a team that is playing in a tax-supported facility from abandoning that facility during the term of

the applicable lease. The Browns have no intention of playing, and will not play, most of their

home games at another facility during the term of their lease of Huntington Bank Field.

       122.    Plaintiffs are therefore entitled to a declaration that any action by the Browns to

cease playing most of their home games at Huntington Bank Field after their lease of that facility

expires does not trigger or violate the Modell Law.

        WHEREFORE, the Browns pray for an order and judgment:

               A.      Declaring, pursuant to 28 U.S.C. § 2201, that the Modell Law violates the

                       U.S. Constitution and is unenforceable;

               B.      Declaring, pursuant to 28 U.S.C. § 2201, that any action by the Browns to

                       cease playing most of their home games at Huntington Bank Field after their

                       existing lease of that facility expires does not trigger or violate the Modell

                       Law;

               C.      Granting permanent injunctive relief prohibiting the Defendants and their

                       officers and agents from attempting to enforce the Modell Law against

                       Plaintiffs on the basis of any action by the Browns to cease playing most of

                       their home games at Huntington Bank Field after their existing lease of that

                       facility expires;

               D.      Awarding Plaintiffs damages for the costs incurred as a result of the City’s

                       attempted enforcement of the Modell Law;

               E.      Awarding Plaintiffs their costs and attorneys’ fees pursuant to 42 U.S.C.

                       § 1988 and any other applicable statute or regulation;

               F.      Granting such further relief as the Court may deem proper.




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Dated: May 26, 2025


                      /s/ Anthony C. White
                      Anthony C. White (0062146)
                      Robert F. Ware (0055515)
                      Kip T. Bollin (0065275)
                      Thomas M. Ritzert (0085370)
                      Kyle A. Hutnick (0095673)
                      THOMPSON HINE LLP
                      3900 Key Center
                      127 Public Square
                      Cleveland, OH 44114
                      Phone: (216) 566-5500
                      Fax: (216) 566-5800
                      Tony.White@ThompsonHine.com
                      Rob.Ware@ThompsonHine.com
                      Kip.Bollin@ThompsonHine.com
                      Thomas.Ritzert@ThompsonHine.com
                      Kyle.Hutnick@ThompsonHine.com

                      William Savitt (pro hac vice forthcoming)
                      Bradley R. Wilson (pro hac vice forthcoming)
                      Anitha Reddy (pro hac vice forthcoming)
                      Adam M. Gogolak (pro hac vice forthcoming)
                      WACHTELL, LIPTON, ROSEN & KATZ
                      51 West 52nd Street
                      New York, NY 10019
                      Phone: (212) 403-1000
                      Fax: (212) 403-2000
                      wdsavitt@wlrk.com
                      brwilson@wlrk.com
                      areddy@wlrk.com
                      amgogolak@wlrk.com

                      Attorneys for Plaintiffs




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